                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF ALASKA

                        Anna Maria Riezinger v. William P. Barr, et. al.
                               Case No. 3:19-cv-00127-TMB


By:                   THE HONORABLE TIMOTHY M. BURGESS


PROCEEDINGS:          ORDER FROM CHAMBERS

In light of the Notice at docket 4 stating that Plaintiff Anna Maria Riezinger wishes any posted
motions withdrawn, the Motion to Correct at docket 3 is DENIED AS MOOT.

Entered at the direction of the Honorable Timothy M. Burgess, United States District Judge.

DATE: June 5, 2019




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